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     M.M. and R.M. a/k/a L.M., Petitioners:  v.  The People of the State of Colorado,  In the Interest of Minor Children: J.M. and A.M. Respondent: No. 24SC668Supreme Court of Colorado, En BancDecember 9, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA225
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petitions
      for Writ of Certiorari DENIED.
    